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                                 IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION




UNITED STATES OF AMERICA,                         )   CASE NO.: 1:15-CV-01046
                                                  )
                    Plaintiff,                    )
                                                  )   JUDGE SOLOMON OLIVER, JR.
           vs.                                    )
                                                  )   NOTICE SUBMITTING MONITORING
CITY OF CLEVELAND                                 )   TEAM ASSESSMENT OF CDP’s 148th
                                                  )   RECRUIT CLASS BACKGROUND
                    Defendant.                    )   CHECKS
                                                  )
                                                  )




           The Monitoring Team respectfully submits its Assessment of Cleveland Division of Police

(“CDP” or “the Division”) Background Checks for its 148th Recruit Class pursuant to paragraphs

308 – 310 of the Consent Decree. The Consent Decree requires the Division to “conduct thorough,

objective, and timely background investigations of candidates for sworn positions.”1 The Division

must assess “a candidate’s criminal history, employment history, use of controlled substances, and

ability to work with diverse communities.”2 This is in addition to the requirement that CDP will

continue to require all candidates for sworn personnel position, including new recruits and lateral




1
    Dkt. 413-1, Exhibit A at ¶309; Dkt. 416.
2
    Id.
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hires, “to undergo a psychological and medical examination to determine their fitness for

employment.”3

           The Monitoring Teams previously submitted to the Court its findings related to the

Division’s background investigations for lateral hires.4 Since that time, and as a necessary follow-

up, the Monitoring Team audited CDP’s pre-employment investigation files of the 148th police

officer recruits. This assessment provides the Court with necessary information on how the

Division pre-employment background investigations for non-lateral candidates complies with

paragraphs 308-310 of the Consent Decree. The attached Memorandum (“Exhibit A”) describes

the methodology and findings of the review.



                                                     Respectfully submitted,



                                                     /s/ Hassan Aden

                                                     HASSAN ADEN
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3
    Id. at ¶308.
4
    Dkt. 401.

                                                 2
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2022, I served the foregoing document entitled Notice

Submitting Monitoring Team Assessment OF CDP’s 148th Recruit Class Background

Checks via the court’s ECF system to all counsel of record.




                                                   /s/ Ayesha Hardaway
                                                   AYESHA HARDAWAY




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